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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



ST. FRANCIS HOLDINGS, LLC and
FRANCIS J. AVERILL, M.D.,

                            Plaintiffs,
                                                      CIVIL ACTION NO. 20-11747-WGY
                v.

CYNOSURE, INC. n/k/a CYNOSURE, LLC,

                            Defendant.


                     STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), the plaintiffs and the defendant hereby stipulate

to the dismissal of this action with prejudice and without costs. All rights of appeal with respect

to this action and this Stipulation are waived.


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PLAINTIFFS                                        DEFENDANT
ST. FRANCIS HOLDINGS, LLC and                     CYNOSURE, INC. n/k/a CYNOSURE, LLC
FRANCIS J. AVERILL, M.D.

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Dated: July 22, 2021




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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document has been filed through the ECF System and will be
sent electronically to the registered participants as identified in the Notice of Electronic Filing on
July 22, 2021.

                                               /s/ John P. Connelly
                                               John P. Connelly




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